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                        UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF WEST VIRGINIA
                                AT CHARLESTON


UNITED STATES OF AMERICA

v.                                   CRIMINAL ACTION NOS. 2:05-00107-01
                                                          2:05-00107-02

GEORGE LECCO and
VALERIE FRIEND


                        MEMORANDUM OPINION AND ORDER


            Pending is defendants’ joint motion for a new trial

(“second new trial motion”) regarding juror William Griffith.1


            On May 23, 2007, twelve days after the jury returned

its verdict finding the defendants guilty on all counts, and

following closing arguments concerning the appropriate sentence,

but prior to the sentencing hearing jury instructions by the

court, the United States disclosed a contact that occurred that

morning between a special agent of the Federal Bureau of

Investigation (“FBI”) and Griffith.           On May 29, 2007, the jury

unanimously found that sentences of death were appropriate as to

each of the two counts for which it was sought.




      1
      The first new trial motion is addressed in a separate
written opinion and order entered November 27, 2007.
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            Defendants now seek a new trial based upon Griffith’s

alleged misconduct, including his failure to answer numerous

questions on the juror questionnaire truthfully and, in

particular, his failure to reveal that he was under federal

investigation for child pornography.          The evidentiary hearings

relating to the motion concluded on February 4, 2008, with the

parties’ post-hearing merits briefing concluding May 1, 2008.

The matter is ready for disposition.



                                      I.



            On November 27, 2002, Griffith came to the attention of

Special Agent (S/A) Jeffrey Franks of the FBI after S/A Franks

received a referral from the National Center for Missing and

Exploited Children (“Center”) in Alexandria, Virginia.               (Offic.

File of FBI at 107).


            Two complaints to the Center, one anonymous and one

from an identified person, accused Griffith of, inter alia,

producing child pornography.        (Id. 107-08).      On or about December

5, 2002, an alleged victim, then approximately 18 years old, was

interviewed by S/A Franks and United States Postal Inspector Tom

Svitek.    (Offic. File of Spec. Agent at 159; Offic. File of FBI


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at 109).    The individual stated, inter alia, that, at a time when

he was approximately 14 years old and working as a male

prostitute, he was picked up by Griffith, who allowed him to stay

at his residence.       (Offic. File of Spec. Agent at 159).           The

individual alleged that he observed controlled substances in the

home and “felt like he had no choice” but to engage in sexual

activity with Griffith, who would otherwise “require him to

leave” the home.      (Id. at 159-60).


            The individual resided with Griffith for approximately

two weeks on one occasion and for approximately one month on

another.    (Id. at 160-61).        During his first stay with Griffith,

the individual described computer equipment in the home.                 (Id. at

160).   He recounted seeing electronic, video, and conventional

images that appeared to contain child pornography, some of which

involved “images of children in the age range of seven to 15

years old.”     (Id.)    During the second stay, he again claimed to

see what appeared to be child pornography on the computer.                 (Id.

at 160).    During that second stay, Griffith also allegedly took

approximately seven pictures of the individual, one of which

depicted him completely nude.         (Id. at 161).      The individual’s

genitals were in view in all of the pictures.              (Id.)   The

individual stated that Griffith transferred the images to the C:


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drive on his computer, made electronic copies of them, and sent

at least one picture to two other individuals.             (Id.)


               Apparently at some time in early December 2002, S/A

Franks discussed the matter with an Assistant United States

Attorney (“assigned AUSA”), who agreed to prosecute the case if

the allegations were substantiated.          (Id. at 36; see Not. of

Filing of Part. Unredac. Interv. Summs., Ex. B at 1 (S.D. W. Va.

Feb. 28, 2008) ("Int. Summs.")).2         On December 10, 2002, S/A

Franks submitted a 25-page affidavit to a United States

Magistrate Judge seeking a search warrant for Griffith’s home.

(Offic. File of FBI at 82, 88, 92).          The warrant listed as

sought-after fruits, inter alia, any visual depictions of minors

engaged in sexually explicit conduct.          (Offic. File of FBI at

85).       The magistrate judge issued the warrant the same day.

(Id. at 84).       The return indicates that on December 11, 2002,

following an approximate 2.5 hour search involving 11 federal and

state law enforcement officers, 27 items, some with multiple

parts, were seized at Griffith’s residence.            (Id. at 86, 26).



       2
      The Interview Summaries were a device jointly agreed upon
by the parties as a means of expeditiously developing a
stipulated evidentiary record concerning how certain employees of
the United States involved in the Griffith investigation would
respond if called upon to testify at an evidentiary hearing. The
interviews appear to have been conducted in January 2008.

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The seized items included a “[p]hoto of [a] nude boy.”                (Id. at

86).


            Griffith was interviewed the same day by S/A Franks and

Inspector Svitek after being provided Miranda warnings.                (Offic.

File of the FBI at 25, 31; 12/18 Trans. at 85).              A December 11,

2002, memorandum of interview prepared by Inspector Svitek

reflects that Griffith stated “he had nothing to hide and that he

had no problems with investigators searching his residence . . .

.”   (Offic. File of FBI at 31).         Griffith effectively denied that

he had any child pornography in his possession or any involvement

with child pornography.       (Id. at 25, 31).        Specifically, he

stated “‘There’s no child pornography anywhere that I know of”

and explained “‘someone[, presumably a houseguest,] could have

just downloaded it.’”      (Id. at 31).       He then stated that “people

may send pictures [via the [[I]nternet] of a person ‘maybe 15 or

16 years old’ . . . and that ‘mostly I’ll just delete them.”

(Id. at 32).


            Griffith then told S/A Franks and Inspector Svitek as

follows: “You’re really making me nervous.             I’m not a child

molester or pornographer.”          (Id.)   He additionally stated that

there was a “‘very, very, very slim chance . . . . less than a

1%’ chance that his computer contained child pornography.”

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(Id.).    He then “admitted[,] however, there . . . [was] a

‘possibility’ he downloaded images of post-pubescent ‘kids maybe

15' years old . . . .      [b]ut that he thought ‘Oh, looks kind of

young.”    (Id. at 33).    He additionally admitted his use of

cocaine previously but claimed he had not used it “for ‘a couple

of years.’”     (Id. at 25).


            The December 11, 2002, memorandum of interview

additionally reflects that Griffith “denied ever taking pictures

of kids or that kids were ever in his house, replying ‘never,

never’ when questioned.” (Id. at 31, 32 (“I’ve never taken

pictures of kids.”)).      Later in the interview, he          “admitted to

taking pictures of . . . [an individual], who was 17 at the

time[],” suggesting the individual “‘wanted me to take pictures

so he could send them to others over the [I]nternet.’” (Int.

Summs., Ex. G at 2; Offic. File of FBI at 32).             Regarding this

same individual, Griffith later stated in the interview that “he

took two or three but that . . . [the individual] took some

pictures of himself[, o]ne of the pictures Mr. Griffith took

showed . . . [the individual] with an erection[,]” and he

admitted “he may have sent this photo to” another, named

individual.     (Id. at 33).    Inspector Svitek also recorded that

when Griffith was asked “what he thought should happen to child


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pornographers,” he responded “‘[t]hey should be arrested, put in

jail.’”      (Id.)


              On December 17, 2002, the FBI ran a criminal history

report on Griffith yielding four arrests, consisting of driving-

related charges, public intoxication and a marijuana possession

charge, all with no disposition listed.3

      3
          The charges found are as follows:

           Arrested on February 7, 2001, by the Kanawha County
      Sheriff’s Department . . . on charges of “Driving Revoked
      (DUI)”, with no disposition listed.

           Arrested on December 16, 1999, by the . . . [West
      Virginia State Police] . . . on charges of “DUI”, “Left
      of Center, Speeding, No Seatbelt” and “Possession of
      Controlled Substance Marijuana”, with no disposition
      listed.

           Arrested on December 21, 1985, by the Charleston
      Police Department . . . on charges of “DUI”, with no
      disposition listed.

           Arrested on March 28, 1981, by the Charleston
      Police Department . . . on charges of “Public
      Intoxication”, with no disposition listed.

(Id. at 43).
     During the portion of the evidentiary hearing held December
13, 2007, counsel for defendant Friend furnished a computer
printout apparently run at the Kanawha County Courthouse
indicating that Griffith “was arrested not four times, but five
times, . . . [with] at least three convictions.” (Trans. of Hrg.
at 1-2 (Dec. 13, 2007) (“12/13 Trans. at ---))). The three
convictions related to (1) a guilty plea on a June 7, 1998,
charge of possession/delivery of a controlled substance, (2) a no
contest plea on a December 16, 1999, charge for the same offense,
and (3) a no contest plea on a December 16, 1999, charge of
driving under the influence. Griffith was sentenced to six
                                                   (continued...)

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            A June 18, 2003, memorandum from S/A Dean Lauffer, who

was assigned the case in March 2003, provides as follows:

      The basis for the search warrant was the interview of a
      victim who claimed Griffith took sexually explicit
      photographs of victim when [the] victim was a child.

           Griffith was interviewed by [S/A Franks and
      Inspector Svitek] . . . . Griffith stated that
      subsequent to the time of the victim’s allegations, his
      computer was stolen and that the seized computer and
      the media seized with it are new. . . .

           Per FA Melinda C. Cash, a CART examination has not
      yet been performed.

           Griffith as well as [the assigned] AUSA . . .
      ha[ve] made a number of queries regarding the status of
      the [seized] computer.

(Offic. File of S/A at 168).        The Griffith matter was the first

child pornography investigation assigned to Lauffer.              (Int.

Summs., Ex. I at 1).


            A July 31, 2003, memorandum from Lauffer additionally

notes as follows:

      Subject, as well as [the assigned] AUSA . . . , have


      3
      (...continued)
months probation for the June 7, 1998, conviction and the same
term, along with 24 hours in custody, for the December 16, 1999,
convictions. (12/13 Trans. at 8-10; 12/18 Trans. at 123-24).
Griffith additionally noted that he was required to appear in
magistrate court as a result of a “small bag of marijuana” found
during the December 11, 2002, search of his residence pursuant to
the federal search warrant. (12/18 Trans. at 86). The marijuana
does not appear in the search inventory and the charge was
apparently dropped. (Id. at 92).

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      made a number of inquiries as to the status of the
      computer that had been seized from subject pursuant to
      a search warrant.

           On 07/17/2003, the writer left a message for
      subject at telephone number . . . .

           On 07/29/2003, the writer spoke with captioned
      subject. Subject was advised that analysis was being
      conducted of his computer and upon completion and
      review of the information he would be contacted.
      Subject was advised that the person conducting the
      analysis would be out of the office for a number of
      weeks.

(Offic. File of S/A at 178).


            At some point in 2003, the seized items were submitted

to a certified field examiner for the FBI Computer Analysis

Response Team (“CART”) for analysis respecting whether there was

evidence of child pornography.        (Offic. File of FBI at 1, 4).           On

September 24, 2003, the examiner submitted a CART Report of

Findings (“CART Report”) stating as follows:

           An examination was conducted to search for the
      types of files which may contain the data requested by
      the Case Agent (C/A). These types of files were found
      and extracted and/or copied for review by the C/A.

(Id. at 4, 18).4     The court does not perceive this excerpt to


      4
      A March 26, 2003, memorandum from S/A Franks, which may be
dated incorrectly, provides that “A CART examination was
performed, and the results were forwarded to the writer. It is
recommended that the results of the CART examination be reviewed
and that any exemplars of child pornography be printed and
presented to [the assigned] AUSA . . . . for a decision regarding
                                                   (continued...)

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suggest that the digital forensic examiner found child

pornography within the seized materials but instead that the

“types of files” that might contain such visual depictions, such

as perhaps .jpg, .gif, and other types of graphic files, were

located during the search.           (Id.)   This conclusion is confirmed

by S/A Jack Remaley, who stated that the examiner “did not, nor

does she ever, evaluate or review any evidence . . . . [but

rather only makes] an image of the computer’s hard drive to

determine if there [i]s information on it.”               (Int. Summs., Ex. E

at 7; see also id., Ex. I at 1-2).


             Lauffer reviewed the evidence obtained from the CART

examination.     (Int. Summs., Ex. I at 1).            He stated his belief

that “99% of the images reviewed did not contain child

pornography.”        (Id. at 2).     He further stated that during his

review “he saw approximately ten images which contained child

pornography, i.e., pre-pubescent photos of children.”5                 (Id.)


      4
      (...continued)
prosecutive merit.” (Offic. File of Spec. Agent at 167). In
assessing the accuracy of the date, the court notes the
aforementioned June 18, 2003, memorandum stating that the CART
examination had not yet been performed, along with the September
24, 2003, CART Report. Additionally, the 2008 interview summary
of S/A Franks states his belief that the CART examination had not
occurred prior to the investigation being re-assigned to S/A
Lauffer. (Int. Summs., Ex. C at 3). Lauffer also states that he
was assigned the matter in March 2003 and that the “analysis of
what was on the computer was not complete at that time.” (Int.
Summs., Ex. I at 1).
      5
      Lauffer stated that “[b]y pre-pubescent he mean[t] no hair
on the genitalia.” (Id.)

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             In Fall 2003, Lauffer met with the assigned AUSA, who

drafted a target letter that was delivered to Griffith by Lauffer

on approximately October 28, 2003.           (See id.).      The target letter

stated pertinently as follows:

           This is to advise you that a grand jury
      investigation has uncovered substantial evidence
      linking you to the commission of a federal crime . . .
      . Accordingly, you have been identified as a target of
      a grand jury investigation. . . . [Y]ou may appear and
      testify before the grand jury in Charleston on November
      4, 2003, at 9:30 a.m., if you desire.

(Offic. File of the U.S. Atty. at 4).


             On or about October 31, 2003, Lauffer attended a

meeting with Griffith and, apparently, the assigned AUSA at the

United States Attorney’s office.            (Int. Summs., Ex. I at 3; Ex. A

att. at 2 (“Visitor Log”)).          The Visitor Log reflects that

Griffith stayed 70 minutes although it is unclear how much of

that time was occupied by meeting with the assigned AUSA and

Lauffer.     (Id.; Ex. A att. at 2).


             Griffith was informed that there was child pornography

on his computer.        (Id., Ex. I at 3).      Griffith stated his

surprise at the revelation and that he did not know how it got

there.    (Id.)      He stated he had no interest or involvement in

child pornography but that others, whom he named, had access to


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his computer.        (Id.)   Griffith offered to take a polygraph

examination.     (Id. at 4).


             On February 19, 2004, Griffith voluntarily submitted to

a polygraph examination “in connection with downloading and

copying kiddie porn.”         (Offic. File of S/A at 232, 234; Int.

Summs., Ex. I at 4).         Prior to the examination, but apparently on

February 19, 2004, the following synopsis was generated by

Lauffer:

      Subject’s computer had been seized pursuant to a
      federal search warrant. Upon analysis of the computer,
      a number of images portraying possible child
      pornography were identified. Prior to the analysis,
      subject had made a number of requests for the return of
      his computer. After the discovery of the images,
      subject was served a target letter. Subject was
      surprised when advised of the findings. Subject denies
      that he has any interest in child pornography, and if
      images were discovered he did not intentionally search
      for them or view the images that had been transferred
      from his computer to disks. . . .

(Offic. File of S/A at 224).


             The Polygraph Report prepared by S/A Mark Divittis,

states as follows:

           Griffith advised that he never downloaded any
      child pornography. He also advised that he never
      copied any child pornography onto “disks.” A review of
      the images on Griffith’s computer hard drive determined
      that child pornography was downloaded and then copied
      from his computer onto disks. Griffith denied any
      knowledge of child pornography on his computer and
      advised the he would never have copied any onto a disk

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      if it was inadvertently downloaded onto his computer
      without his knowledge. Griffith agreed to be
      polygraphed to validate his statement.

      During the pre-test interview, Griffith advised that he
      had viewed some of the pornographic movies he
      downloaded from the KAZAA website which had boys as
      young as 16 having sex with each other. Griffith
      advised he knowingly copied approximately ten such
      movies onto disks for his “collection”. Griffith
      advised that he never downloaded any pornography with
      pre-pubescent children, nor did he search for any child
      pornography. He would look at the title of the movie
      then download it. Griffith also advised that he did
      not download or view any still pictures of child
      pornography and would not have copied any if he had
      seen that they had mistakenly been downloaded onto his
      computer hard drive.

(Id. at 230-31 (emphasis supplied)).


             During the examination, S/A Divittis asked Griffith the

following questions, with S/A Divittis’ opinion that follows:

                                     SERIES 1

      A.     Did you ever search the [I]nternet for child
             pornography? Answer: NO

      B.     Did you ever search the [I]nternet for child
             pornography through KAZAA? Answer: NO

           It is the opinion of the examiner that the
      recorded responses to the above relevant questions in
      Series I were indicative of deception (DI).

(Id. at 231).        The examiner recalls advising Griffith that “he

had noted deception regarding some of the answers on the

polygraph.” (Int. Summs., Ex. A at 1).            In response, Griffith

effectively denied knowingly downloading images of child

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pornography, asserting that a 17 year-old male with whom he

previously had a relationship was making allegations against him

out of spite.        (Id.)


             In his Interview Summary in January 2008, four years

after the polygraph examination, S/A Divittis additionally

observed that Griffith “never came close to making an admission

and never retreated from his story that he did not intentionally

download child pornography.”         (Id.)    Quite to the contrary, on

the “POLYGRAPH EXAMINATION WORKSHEET” that S/A DiVittis

presumably executed in 2004, he apparently checked a box styled

“Pre-Test Confession” and added the following inculpatory

observation concerning the subject whom he was testing: “Griffith

advised during pre-test interview that he copied pornographic

movies involving boys between the ages of 16 - 18 after viewing

movies on approximately ten occasions.”               (Offic. File of S/A at

232).    That “confession” is in keeping with Griffith’s statement

at the pre-test interview to S/A Divittis that he had downloaded

pornographic movies from the KAZAA website that had boys as young

as 16 having sex with each other.


             According to the assigned AUSA, “[t]here was nothing

further done in the investigation of the case after the

polygraph[,]” a representation corroborated by Lauffer (Int.

Summs., Ex. B at 2, 3; id., Ex. I at 5).

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             On or about August 15, 2006, S/A Remaley assumed

responsibility for the Griffith matter following the June 3,

2006, retirement of Lauffer.         (Int. Summs., Ex. E at 2). S/A

Remaley did not discuss the case with Lauffer.               (Id.)   He

reviewed the file generally when it was assigned, but did nothing

with it until he conducted a further review prior to closing the

investigation in May 2007.          (Id.) Remaley noted that at the time

“there was a huge investigative load in the Charleston office.”

(Id.)    Between August 2006 and May 2007, he had no contact with

either Griffith or the United States Attorney’s office about the

investigation.       (Id. at 3).


             On August 16, 2006, the government filed a third

superseding indictment in the Lecco and Friend action.                Count One

alleged a drug conspiracy as to both Lecco and Friend, in

violation of 21 U.S.C. § 846.          Counts Two through Four alleged

Lecco’s use of a firearm during and in relation to drug

trafficking offenses, in violation of 18 U.S.C. § 924(c)(1)(A).

Counts Five and Six alleged Lecco’s possession of firearms after

having been convicted of a felony, in violation of 18 U.S.C. §§

922(g)(1).     Counts Seven through Ten alleged drug distribution

offenses against Lecco, in violation of 21 U.S.C. § 841(a)(1).

Count Thirteen alleged that Lecco and Friend knowingly conspired

to commit offenses against the United States, in violation of 18

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U.S.C. § 1512(k).      The two remaining Counts alleged as follows:

      A.     Count Eleven -- That Lecco and Friend committed murder
             with a firearm, during and in relation to a cocaine
             conspiracy, causing the death of Carla Collins, in
             violation of 18 U.S.C. §§ 924(c)(1)(A), 924(j)(1); and

      B.     Count Twelve -- That Lecco and Friend killed Carla
             Collins for aiding a federal investigation, in
             violation of 18 U.S.C. §§ 1121(a)(2) and 2.


             The same day, the government filed notices of intent to

seek the death penalty relating to each defendant respecting

Counts Eleven and Twelve of the third superseding indictment.


             On February 27, 2007, the court directed the Clerk to

randomly select from the Charleston Qualified Jury Wheel the

names of 300 individuals qualified to serve as jurors.               United

States v. Lecco, No. 2:05-107, order at 1 (S.D. W. Va. Feb. 27,

2007).     Griffith was selected to appear for the jury selection

process that began on March 15, 2007.           He appeared as directed

and executed a detailed, 38-page written juror questionnaire

consisting of 127 questions. Id., dock. ent. 435-2 (S.D. W. Va.

Mar. 19, 2007).


             On April 16, 2007, Griffith appeared with a group of

other prospective jurors for individual voir dire.              Inasmuch as

the individual questioning of other prospective jurors that day

consumed more time than expected, the court requested those few

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who remained that day, including Mr. Griffith, to return the next

day.    Mr. Griffith responded as follows:

            I have no problem with that, sir, but I do have a
       problem. I work in Lewis County at Stonewall Jackson
       Memorial Hospital and I work 40 hours on the weekend
       full time, and I was under the assumption that I would
       be released from work if I was -- well, actually I
       thought when I came down here, [it] would be a civil
       case or something, not something for six weeks.

             . . . .

            And they told me that I would not be released from
       work. So I would -- I don’t -- I would have to be down
       here Monday through Friday, and then leave at 6:30
       Saturday morning to get there by 8:00 o’clock, and then
       I don’t leave until midnight Sunday night, so I
       wouldn’t get back into Charleston until 2:00 a.m.
       Monday morning.

(Unoffic. Trans. at 46).       Griffith agreed to return the next day

as requested.


             On April 17, 2007, Griffith appeared again and was

questioned by the court and counsel for a 12-minute period.

(Id., dock. ent. 865 (S.D. W. Va. Apr. 17, 2008) (“Indiv. Voir

Dire. Trans. at ---”)).       The court expressed concern about

Griffith’s work schedule.       (Id. at 3).      The court asked Griffith

if he could arrange to return to Charleston at midnight or

earlier as opposed to 2:00 a.m.         (Id.).       The court advised

Griffith that he would “probably need that relief if . . . [he]

were to serve as a juror . . . . ”          (Id. at 11).       It does not


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appear Griffith made any further request to be excused based upon

his work schedule.       His responses during the individual voir dire

process were unremarkable.          For example, he expressed agreement

with one lawyer’s question concerning whether Griffith’s death

penalty views were “pretty middle of the road . . . ?”                (Id. at

7).


             No party challenged Griffith for cause.            (Id. at 12).

While the assigned AUSA and at least one FBI agent involved in

the investigation of Griffith reviewed the jury list for the

Lecco and Friend trial as a matter of routine practice, they did

not recognize Griffith’s name.          (Int. Summs., Ex. B at 3-4; id.

Ex. J at 2).     On April 30, 2007, Griffith was selected to serve

on the jury.     United States v. Lecco, No. 2:05-107, dock. ent.

637 at 3 (S.D. W. Va. Feb. 27, 2007).            Trial of the guilt phase

began on May 1, 2007.


             During trial in the Lecco and Friend matters in early

May 2007, S/A Remaley reviewed the child pornography investi-

gation of Griffith at the request of the assigned AUSA due to the

age of the file.      (Int. Summs., Ex. E at 3).          After reviewing

“hundreds of images[,]”, S/A Remaley could not find “any evidence

of child pornography . . . .”6         (Id.)     He informed the assigned

      6
      S/A Remaley made no mention of the statement of the
individual who, as a 14 year-old, recounted seeing child
                                                   (continued...)

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AUSA of his findings.       (Id.)    On May 10, 2007, another criminal

history report was run on Griffith, yielding the same results as

the report run on December 17, 2002.           (Offic. File of Spec. Agent

at 228).     S/A Remaley ran the report consistent with his routine

practice to assure the individual is not in other trouble or

wanted on other charges.       (Int. Summs., Ex. E at 6).


             On May 11, 2007, the jury convicted the defendants

Lecco and Friend on all counts.         The assigned AUSA noted that he

“signed a document closing his file [in the Griffith matter] on

approximately May 18, 2007.         (Int. Summs., Ex. B at 2, 3).         He

explained the declination as follows:

      [H]e was told by . . . Remaley that most of the images
      retrieved from Griffith’s computer consisted of adult
      pornography and that any questioned images were
      “borderline.” [The assigned AUSA] . . . also was told
      that there were problems with the informer who may have
      had access to the computer, and that the images were
      collected through the use of a “creeper” search, which
      may have caused the questioned images to be
      inadvertently downloaded.

(Id. at 3; see Offic. File of the U.S. Atty. at 1, 3 (stating

“Matter declined @ Agency Request . . . . [and for] [l]ack of


      6
      (...continued)
pornography on Griffith’s computer, nor of S/A Lauffer’s viewing
of approximately ten images of child pornography involving
prepubescent children, nor of Griffith’s statement to S/A
Divittis at the time of the failed polygraph examination,
attended by Lauffer, that he had downloaded approximately ten
movies of boys as young as 16 having sex with each other.

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investigative resources . . . .” and “[m]uch of the porn found on

computer was adult . . . . Leaves argument that child porn was

inadvertently collected . . . . FBI (Jack Remaley) is in

concurrence.”).      The assigned AUSA further observed that he “does

not inform individuals that they are no longer targets of an

investigation” and that as “far as he is aware, Griffith was

never advised that he would not be prosecuted.”              (Int. Summs.,

Ex. B at 3).     He first learned of Griffith’s jury service on the

day that the misconduct was disclosed to the court, as more fully

described within.      (Id. at 4).


             Following the decision to decline the prosecution, S/A

Remaley attempted to contact Griffith to return his computer,

after erasing the hard drive consistent with FBI return policy.

(Int. Summs., Ex. E at 3-4).        After three unsuccessful attempts

to find Griffith at home, S/A Remaley left a note for Griffith at

the residence on May 22, 2007, asking that he contact him.                (Id.

at 4).    On May 23, 2007, Griffith phoned S/A Remaley at 7:45 a.m.

(Id.)    S/A Remaley advised Griffith of the declination and the

need for Griffith’s permission to “wipe” the hard drive.                (Id.)


             Griffith responded that he was on jury duty.            (Id.)

S/A Remaley assumed it was state jury duty and offered to meet

Griffith near the Kanawha County Circuit Court.              (Id.)   When



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Griffith stated it “was federal[,]” S/A Remaley terminated the

conversation and arrived at the United States Attorney’s office

approximately 30 minutes later to advise the Lecco and Friend

trial team of the contact.          (Id. at 5).


             On the morning of May 23, 2007, 12 days after returning

its verdict finding the defendants guilty of Counts One through

Thirteen, and following closing arguments concerning the

appropriate sentence, but prior to the sentencing hearing jury

instructions by the court, the United States requested to be

heard in camera, but not ex parte.           A short time later, the

court, the parties, and counsel convened in order to permit the

government to make a disclosure to those assembled.                The gravity

of the matter warrants reproduction of the government’s

disclosure, offered by its counsel at trial, in its entirety:

           Your Honor, I wish to report a matter involving
      one of the jurors, William Griffith, and the matter
      involves a communication between Mr. Griffith and
      Special Agent Jack Remaley of the FBI, who has just
      left the courtroom, and it also -- which leads to
      another issue about Mr. Griffith's questionnaire.

           Special Agent -- essentially, Your Honor, this
      office had an investigation open on Mr. Griffith at one
      point and the office declined it. This morning Special
      Agent Jack Remaley, who was the agent, called Mr.
      Griffith to tell him the matter had been declined and
      that he had to return some property to Mr. Griffith and
      he asked if he could meet with him. Mr. Griffith told
      Agent Remaley that he had jury duty. Agent Remaley did
      not know that he was on this case. Agent Remaley has

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      not worked on this case, but he said, "Oh, county duty?
      Why don't you just come over to the FBI office when you
      are finished in downtown Charleston." And Mr. Griffith
      apparently told Jack Remaley that it was federal. And
      at that point Special Agent Remaley thought, well, it
      might be this case, so he just said, "Well, I'll talk
      to you later" and he hung up.

           The investigation initiated I believe sometime in
      2002. There was a search warrant executed in December
      of 2002 at Mr. Griffith's home. That search warrant is
      under seal. The last contact between -- that I can see
      from any files that Agent Remaley brought over this
      morning occurred sometime in February of 2004 between
      the FBI and Mr. Griffith.

           And I bring this matter to the attention, one, to
      report that there was a contact between a government
      agent and a juror to tell that juror a criminal
      investigation had been closed on that particular juror
      and that contact was made this morning, and also to
      report that looking at his questionnaire, question 46
      asks of all the jurors who filled out the
      questionnaire, have you, any members of your family, or
      close personal friends ever been -- and then please
      check all that apply. The categories include the
      victim of a crime, a witness to a crime, accused of or
      charged with a crime, or investigated for a crime.

           Mr. Griffith's questionnaire indicates a check
      mark only in the victim of a crime, with nothing about
      being accused or charged of a crime or investigated for
      a crime.

           I would also inform the court that going through
      the FBI files, it appears that a criminal history check
      was done on Mr. Griffith indicating, it appears, four
      arrests going back to 1981 through 2001 on charges of
      public intoxication, DUI, left of center speeding, no
      seat belt, possession of controlled substance
      marijuana, and driving on revoked; with no disposition
      listed.

           So those are the facts that I wish to bring to the
      court's attention.

(Sealed Trans. at 4-7).


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             Upon further inquiry by the court, it was informed that

the subject matter of the investigation of Griffith related to

child pornography.       At that juncture, the following exchange

occurred between the court and the defense:

      THE COURT:     Let me hear from counsel.

      MR. McNALLY:     We have no motion.

      THE COURT:     Thank you.

      MR. McCAMIC: I'm sorry, Your Honor.              If we could have
      just a moment.

      THE COURT:     Yes.

      (Pause [At which time counsel discussed the matter].)

      MR. McCAMIC:     Thank you, Your Honor.          We also have no
      motion.

      THE COURT: I take it then that the parties are
      satisfied to proceed with Mr. Griffith as a juror in
      this case.

      MR. WRIGHT:     Yes, Your Honor.

      MR. McNALLY:     Yes, Your Honor.

      MR. McCAMIC:     Yes, Your Honor.

(Id. at 6-7).


             On May 29, 2007, the jury unanimously found that

sentences of death were appropriate on Counts Eleven and Twelve

as to both defendants Lecco and Friend.              On June 8, 2007, S/A

Remaley met with Griffith in the FBI parking area.               (Int. Summs.,

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Ex. E at 6).     Griffith executed a “CONSENT TO SEARCH

COMPUTER(S)[,]” countersigned by S/A Remaley, in which he

“grant[ed] [the FBI] permission to wipe the hard drive on . . .

[his seized computer] . . . currently in FBI custody.”                (Offic.

File of Spec. Agent at 2).          A memorandum apparently drafted by

S/A Remaley the same day states “[p]rosecution of . . . [the]

matter was declined by the U.S. Attorney’s office . . . .                 The

computer, along with other items seized, will be returned.”                  (Id.

at 226).     S/A Remaley did not return the computer after learning

of the continuing inquiry by the court into the contact with

Griffith.     (Int. Summs., Ex. E at 6).


             In the second new trial motion, defendants contend,

inter alia, that a new trial is warranted given Griffith’s

omission on his jury questionnaire that he was under

investigation for child pornography crimes and that he had been

previously arrested or charged with criminal offenses.

Defendants initially contended Griffith “gave false answers to at

least five questions on the jurors [sic] questionnaire.”                 (Sec.

New Tr. Mot. ¶ 6).       In their supporting memorandum filed March 4,

2008, defendants noted other untruthful, incomplete, or non-

compliant answers or omissions from Griffith.              The challenged

responses, essentially to questions 40, 41, 46, 50, 52, 124(a),

and 125, appear below:

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(Question. of Jur. William Griffith ¶¶ 40-41, 46, 50, 52, 124(a),

and 125) (“Jur. Ques. at ---”).7           Griffith answered under penalty

of perjury.     (Id. at 38).


             On December 3, 2007, the court scheduled a sealed

evidentiary hearing for December 13, 2007, at which Griffith

would be examined under oath by counsel in order to aid the

disposition of defendants’ motions.           United States v. Lecco, No.

2:05-107, slip op. at 40 (S.D. W. Va. Dec. 3, 2007).               The jury



      7
      Questions 64 through 66 and 69 also appear to contain false
responses.

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administrator was directed to summon Griffith in writing to

appear at that time and, if he inquired further, to advise him

only that the court needed to make further inquiry of him

relating to his prior jury service.          Id.     The jury administrator,

the parties, and counsel were directed to have no contact with

Griffith prior to the evidentiary hearing.             Id.


             On December 13, 2007, counsel and the parties appeared

for the evidentiary hearing.        (12/13 Trans. at 1-2).         After

Griffith took the stand, the court observed that some of the

answers provided on his juror questionnaire may not have been

accurate.     (Id. at 14).    Inasmuch as the juror questionnaire was

signed under oath, Griffith was further advised that his

responses might conceivably incriminate him.             (Id.)    After

advising Griffith of his Fifth Amendment rights, and assuring

that they were understood, Griffith responded “I think I need to

talk to a lawyer. . . . there were some things because of my job

I could not discuss with you all, and I’m sorry.”                (Id. at 15).


             Griffith chose to retain counsel rather than seeking an

appointed lawyer.      In order to allow Griffith time to retain

counsel, the evidentiary hearing was adjourned until December 17,

2008.    On December 17, 2008, Griffith appeared with counsel,

Clinton W. Smith. (Trans. of Hrg. at 29-30 (Dec. 17, 2007)


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(“12/17 Trans. at ---))).       The court inquired of Griffith

concerning his response to question 41 of the written juror

questionnaire, at which point Mr. Smith advised that his client

would exercise his Fifth Amendment privilege as to all inquiries

made of him respecting the questionnaire.             (Id. at 30-31).      After

Griffith was excused temporarily, the court granted the

government’s motion for an order compelling his testimony

pursuant to 18 U.S.C. 6003.          (Id. at 47).     The court     then

adjourned the hearing to December 18, 2007, to facilitate public

notice of the proceedings.          (Id. at 55).


             On December 18, 2007, the evidentiary hearing re-

convened.     (Trans. of Hrg. (Dec. 18, 2007) (“12/18 Trans. at”)).

Salient testimony adduced at that hearing includes the following:

      •      Griffith understood it was important to provide
             accurate and complete information that was responsive
             to the questions asked of him during the voir dire
             process. (Id. at 77);

      •      He did not expect to be called back after executing the
             questionnaire because, as he stated, he “knew . . .
             [he] wasn’t very truthful in some matters that
             concerned” him. (Id. at 81). Indeed, he thought the
             United States knew about the pending investigation of
             him and that it would realize the omissions on his
             questionnaire. (Id. at 81-83);

      •      He “didn’t want to be on this jury.”            (Id. at 82);

      •      He knew when executing the written juror questionnaire
             that his response to question 46 was incomplete because
             (1) he omitted the fact that he had been previously

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             charged with DUI and controlled substance offenses and
             arrested for the DUI offenses, and (2) he was accused
             by agents of the United States as having committed a
             child pornography offense. (Id. at 98-99);

      •      He asserted he was found by law enforcement to have
             been in possession of marijuana on three separate
             occasions and that he previously pled guilty to a
             charge of marijuana possession in 1999 and was
             sentenced to six months probation. (Id. at 120-21,
             124);

      •      He knew that he was involved in a “dispute with the
             United States” as contemplated by question 52, but did
             not respond appropriately by answering “Yes” to that
             question. (Id. at 100);

      •      He conceded the “truthful answer” to question 50,
             regarding whether he had been previously questioned by
             a federal law enforcement agency such as the FBI, was
             “Yes” but he responded “No[.]” (Id. at 100);

      •      He conceded as follows: “I wasn’t trying to hide -- I
             mean, I guess I was trying to hide something, but not
             from one person from the other . . . .” (Id. at 101);

      •      When asked if he was “concerned every day . . . [when
             he came to court] that somebody might say something
             about the [child pornography] investigation,” he
             responded “I guess it was in the back of my mind . . .
             .” (Id. at 116 (emphasis supplied); and

      •      With respect to questions 41, 46, 50, 52, 64, 66, 69,
             124(a), and 127, Griffith conceded, either explicitly
             or implicitly, that he gave inaccurate or false
             information. (Id. at 154-60).


             Aside from the foregoing responses, Griffith offered

other responses, some of which are reproduced below, that are

indicative of one who did not desire to be entirely forthcoming:

      •      He did not think there was an ongoing investigation of
             him by the United States at the time of the voir dire


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             process, although (1) his computer was in the United
             States’ custody, (2) he had received the October 28,
             2003, target letter, (3) he was advised child
             pornography was found on the materials seized from his
             home, and (4) he was advised that deception was
             observed when he responded to material questions during
             a polygraph examination. (Id. at 83 (“I didn’t think
             there was an ongoing investigation.”)). Griffith later
             agreed with the statement of counsel that he “was never
             specifically advised that the investigation was over”
             and that he “just hoped it was over due to the passage
             of time . . . .” (Id. at 132). Late in the day during
             the December 18, 2007, hearing, Griffith observed for
             the first time that he “thought there was a statute of
             limitations or something.” (12/18 Trans. at 174);

      •      He stated that after meeting with the assigned AUSA and
             Lauffer after receipt of the October 28, 2003, target
             letter, that he “met with . . . [two] agents, a couple
             of months or maybe a month later, and then that was the
             end of it.” (12/18 Trans. at 96; see also id. at 125
             (stating “I met with two agents and talked to them . .
             . .” ). The meeting with the agents, as opaquely
             described, was in fact the occasion when Griffith met
             S/A Lauffer and S/A Divittis at a local hotel where he
             took, and failed, the polygraph examination
             administered by S/A Divittis on February 19, 2004.
             (See, e.g., Int. Summs., Ex. I at 4-5);

      •      Griffith additionally stated that sometime during that
             meeting (on the occasion of the polygraph examination)
             “that one agent told . . . [him] that there was nothing
             on . . . [the] computer.” (12/18 Trans. at 112). As
             noted, Lauffer told Griffith on October 31, 2003, that
             child pornography had been found on his computer.
             (Int. Summs., Ex. I at 3). On February 19, 2004, S/A
             DiVittis additionally advised Griffith that deception
             was noted during the polygraph examination and that
             Griffith responded to the effect “that he did not
             knowingly download images of child pornography.” (Int.
             Summs., Ex. A at 1; Offic. File of S/A at 230);

      •      Griffith stated that after he met with Lauffer and the
             assigned AUSA on October 31, 2003, he “thought . . .
             [the investigation] was through.” (12/18 Trans. at
             115). In actuality, Griffith was advised at the
             October 31, 2003, meeting that child pornography was


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             found on his computer and that a polygraph examination
             would be scheduled, which, as noted, he failed on
             February 19, 2004. (Int. Summs., Ex. I at 3-4);

      •      He was evasive respecting whether he had been “accused”
             of a crime in connection with the child pornography
             investigation, but eventually conceded he thought he
             had been so accused after receipt of the October 28,
             2003, target letter. (12/18 Trans. at 99);

      •      When asked about his life experiences with possession
             or use of illegal controlled substances, Griffith
             explained that he did not know the question “was
             relevant” to the Lecco and Friend case. (Id. at 122).
             The juror questionnaire contained at least nine
             questions relating to controlled substance issues.
             (Jur. Ques. at 18-20). The juror questionnaire
             explained that the defendants were charged with drug
             trafficking. (Jur. Ques. at 2). During individual voir
             dire, Griffith was questioned specifically concerning
             the fact that “drug use and drug dealing” might be in
             issue in the case. (Trans. of Indiv. Voir Dire at 10
             (S.D. W. Va. Apr. 17, 2007));

      •      Griffith testified twice, without further elaboration,
             that around 1979, while “[i]n college . . . [he] used
             cocaine.” (12/18 Trans. at 157, 176). When questioned
             in December 2002 by Postal Inspector Svitek and S/A
             Franks, Griffith advised that he had “not used cocaine
             for ‘a couple of years.’” (Offic. File of the FBI at
             25);

      •      Griffith contended that he “was very fair and
             impartial” during his jury service. (12/18 Trans at
             162). When asked, however, if he “were on trial for”
             his “life, would . . .[he] want a juror who was being
             investigated by the same prosecuting office to be on
             the jury[,]” he responded “Probably not.” (Id.
             (emphasis supplied);

      •      Despite (1) the December 11, 2002, search and seizure
             at his home, after which he consulted with his attorney
             Mr. Smith in late 2002 or early 2003, (2) the language
             of the target letter of October 28, 2003, and (3) his
             visit on or about October 31, 2003, to the United
             States Attorney’s office, Griffith did not believe that
             he was “in trouble” in October 2003 (Id. at 164-65,
             168); and

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      •       Despite the language found in questions 124(a) and 125,
              and the May 23, 2007, contact with S/A Remaley,
              Griffith professed that it did not occur to him to
              notify the court about the falsehoods in the
              questionnaire. (Id. at 172).


              During the December 18, 2007, evidentiary hearing, the

court entered the United States’ proposed order turning over to

the defense the investigative files relating to Griffith in the

possession of the United States Attorney and the Federal Bureau

of Investigation.      United States v. Lecco, No. 2:05-107, order at

1 (S.D. W. Va. Dec. 18, 2007).         As noted, the December 18, 2008,

order was subject to a protective device that, inter alia,

required redaction of the names and other identifying information

of persons, other than law enforcement, other governmental

officials or employees, and Griffith.8 Id.            In order to provide



      8
          The direction additionally provided as follows:

      To protect the privacy interests of William Griffith,
      consistent with 5 U.S.C. § 552a(b), and that of any
      juvenile, consistent with 18 U.S.C. § 3509 and 18
      U.S.C. § 5038, counsel for defendants shall use the
      materials disclosed only as necessary to resolve the
      issues raised in their Second Joint Motion for New
      Trial, shall refrain from mentioning or otherwise
      identifying any juveniles, shall not disclose any
      materials to anyone whose knowledge of the same is not
      necessary to the defense in this case, and shall return
      the materials to the United States upon resolution of
      the Second New Trial Motion.

United States v. Lecco, 2:05-107, slip. op. at 2 (S.D. W. Va.
Dec. 18, 2007).

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counsel adequate time to review the investigative files, the

evidentiary hearing was continued first to January 24, 2008, and

then, by joint motion, to February 4, 2008.              United States v.

Lecco, No. 2:05-107, order at 1 (S.D. W. Va. Dec. 20, 2007); id.,

order at 1 (Jan. 22, 2008); Jt. Mot. at 1 (Jan. 16, 2008)).                  The

same order prohibited defense counsel from disclosing the

contents of the files to any other person until the further order

of the court.        (Id. at 1-2).


             Preceding the February 4, 2008, hearing, defense

counsel apparently learned after reviewing the investigative

files that Griffith did not disclose the nature of the “meeting”

he had with Lauffer and S/A Divittis in February 2004 that

occurred after he met with Lauffer and the assigned AUSA in

October 2003.        Griffith was confronted with the omission when

counsel for defendant Friend inquired “You failed . . . [the

February 2004] polygraph, didn’t you?”            (2/4 Trans. at 210).

Griffith responded “Yes.”        (Id.)




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                                      II.



A.    Waiver and Forfeiture9



             In response to the second new trial motion, the

government asserts as follows:

      Defendants waived any objection to juror Griffith’s
      continued service. Neither counsel asked for additional
      information, nor did counsel request an opportunity to
      question juror Griffith concerning the investigation,
      his knowledge of it, or its effect on his ability to be
      a fair and impartial juror. Rather, counsel made a
      tactical decision not to object to juror Griffith’s
      continued service at trial.

(Govt.’s Sealed Resp. at 4).        In support, the government contends

Gray v. Hutto, 648 F.2d 210 (4th Cir. 1981), and United States v.

Breit, 712 F.2d 81 (4th Cir. 1983), control.


             In Gray, a decision spanning seven paragraphs, the

court of appeals confronted a state habeas petitioner’s

contention that his rights were violated by a juror’s disclosure

to her husband during a trial recess that she thought the

petitioner was guilty of a controlled substance offense for which

he was then on trial.       Although the juror communication was known



      9
      Waiver and forfeiture are two deeply rooted doctrines
designed, in part, to advance certainty and finality in the
judicial process.

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to Gray’s counsel while the trial was in progress, the matter was

first brought to the attention of the state court in a post-trial

motion.    Following exhaustion of his state remedies, the district

court denied petitioner’s section 2254 motion, stating “‘the

court accepts the state court's finding, and the evidence which

amply supports that finding, that . . . [the juror] did not

decide the issue of guilt or innocence until after the jury began

its deliberations.’”       Gray, 648 F.2d at 210.


             The court of appeals noted the gravity of the

petitioner’s argument:

      Gray . . . might have raised a very serious question.
      “Private communications, possibly prejudicial, between
      jurors and third persons, are absolutely forbidden, and
      invalidate the verdict, at least unless their
      harmlessness is made to appear.” Mattox v. United
      States, 146 U.S. 140, 150, 13 S. Ct. 50, 53, 36 L. Ed.
      917 (1892).

Id. at 211.     Unlike the district court, however, the court of

appeals did not reach the merits of the petitioner’s argument.


             After observing that Gray’s counsel had been told about

the juror communication during the course of the trial, and that

the matter was first brought to the court’s attention post-trial

by a lawyer appointed to handle the appeal, it was noted that “a

period of 47 days was permitted to elapse during which the

opportunities greatly increased for memories, both of the juror

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and of the witnesses who claimed to have overheard her, to grow

vague or to reform and vary the recollections.”              Id. at 211-12.

After concluding these facts “essentially amount[ed] to a

waiver[,]” it was observed as follows:

           In short, however strong Gray's case for a
      mistrial might have been had the court been immediately
      notified, counsel's deliberate inaction amounted to a
      conscious decision to find out what the jury was going
      to do. Obviously counsel preferred to proceed in hopes
      that the jury might acquit. Counsel's approach, were
      we to grant the requested habeas corpus and
      accompanying new trial, would allow the defendant two
      bites at the apple, with a most unfair reduction,
      because of the passage of time (more than two years),
      in the probability that the Commonwealth could present
      its case as strongly as would have been possible had a
      mistrial, and consequent new trial, been sought and
      granted immediately.

           Thus, we substantively refrain from deciding
      whether it would have been appropriate, once the
      assumption was made that the juror had committed the
      claimed impropriety, to attempt to correct or
      neutralize the questionable conduct by a cautionary
      instruction. Even if it was not, the allowing of time
      to pass, with the consequent adverse changes in the
      position of the Commonwealth and the inevitable
      prejudicial increase in expenditure of time and effort,
      have cost Gray the force of the argument.

Id. at 212.


             In Breit, the defendant was a member of the bar accused

of multiple controlled substance offenses.             Prior to trial,

Breit’s son William, also a lawyer, conducted an extensive

investigation into the 55 to 60 prospective jurors drawn for the


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case.    During voir dire, the court inquired whether any venire

member or any member of his or her immediate family served as a

witness or an accused in a criminal case.              Two jurors who

ultimately were selected to serve on the case failed to disclose

their respective sons’ criminal records (“the first juror” and

“the second juror” respectively herein).              The first juror

additionally concealed she had previously been a criminal

defendant.


             Five days after his conviction, Breit informed the

court of the jurors’ misconduct and moved for a new trial.                  He

claimed he first learned about the second juror’s misconduct by

an anonymous telephone call post-trial.               He added that the call

then provoked a further investigation of the panel by the defense

team, resulting in the discovery of false responses by the first

juror.


             The district court convened an evidentiary hearing, the

fruits of which were recounted by the court of appeals.                  It was

uncovered during the hearing that one of the defendant’s other

sons, Jeffrey, also a lawyer, was told prior to trial by an

investigator and close friend, Shuttleworth, that the first juror

“wouldn't be a bad juror.”          Id. at 81.    Jeffrey admitted he

thought the investigator was implicitly indicating that the first


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juror or a family member had previously been in criminal trouble.

Jeffrey testified he told William only that he thought the first

juror would not be a bad juror.


             Respecting the second juror, Jeffrey conceded another

investigator, Collins, disclosed to him after the jury was sworn,

but prior to return of verdict, that one of that juror’s children

had “had some trouble.”       Id. at 82.


             Shuttleworth testified he told Jeffrey prior to trial

that he had represented the first juror and that he thought she

would make “a very good juror.”         Id.    Collins testified that

during a recess he told Breit's lead counsel that the second

juror’s “son[] had been in trouble” and also advised Jeffrey of

the son’s very serious criminal history.             Id.


             Breit denied that Jeffrey disclosed the information to

him, but admitted prior to the verdict that he knew the first

juror had previously been charged with homicide.              He also advised

that Jeffrey told him Shuttleworth had probably represented that

same juror and thought that she would be favorable to the

defense.


             After noting Gray, the court of appeals prescribed the

appropriate standard of proof for waiver of juror misconduct,

along with the question of whether waiver occurred:

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      A defendant who remains silent about known juror
      misconduct -- who, in effect, takes out an insurance
      policy against an unfavorable verdict -- is toying with
      the court. To hold the government to an exacting
      burden of proof of the defendant's knowledge -- a
      matter by definition best known to the defendant and
      his acquaintances rather than the government -- is
      effectively to invite that policy to be cashed in at
      high value and little risk to the defendant, but at
      great cost to the finality of verdicts and the
      integrity of the trial process. We conclude that the
      proper standard to resolve whether Breit knew before
      the verdict of the jurors' alleged misconduct is proof
      by a preponderance of the evidence. In this particular
      case, we further find that the evidence establishes
      beyond a reasonable doubt that Breit knew before the
      verdict the critical information about . . . [juror
      misconduct].”

             . . . .

      We conclude that by not bringing the jurors' misconduct
      to the attention of the trial court, Breit waived his
      right to a new trial.

Id. at 83.


             The United States contends the case for waiver here is

stronger than in both Gray and Breit inasmuch as both defendants

and their respective counsel knew, prior to the sentencing phase

of their case being submitted to the jury, about Griffith’s

inaccurate responses on his questionnaire as well as the United

States’ investigation of him and chose not to object to his

continued service at trial, or so much as request that the court

inquire of him, with or without counsels’ participation.                The

government contends defendants believed that Griffith’s

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background would pre-dispose him in their favor and knowingly and

voluntarily chose not to pursue the matter.


             The key differences between this case and that of Gray

and Breit, however, are monumental.          In each Gray and Breit the

jurors’ misconduct was known by defense counsel, but not the

state, during the course of the trial; yet, in each case it was

not disclosed by the defense until the defendant was convicted

and a new trial sought on that very ground.             Quite the opposite

occurred here, where defense counsel knew nothing of the juror’s

misconduct or the United States’ grip upon him until after the

defendants were convicted on all counts.             Rather, it was the

United States, though not the prosecution team, that knew of the

child pornography charge and Griffith’s criminal record,

admittedly without appreciating its significance prior to

Griffith mentioning his jury service to Remaley.


             The defense decision to make no motion during the

sentencing hearing, upon first being advised of the juror’s

falsification as the two-week sentencing hearing reached the

instructional stage, waived nothing and forfeited nothing for a

variety of reasons.       Foremost, the defendants had already been

found guilty on all counts -- only the sentencing by the jury on

the two death penalty counts remained.           Defendants were not



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required for any reason to make any motion regarding the guilty

verdicts at the time of the prosecution team’s revelation with

respect to Griffith.


             Furthermore, the defendants, aware only of the limited

disclosure consisting of what the prosecution team then knew

about Griffith, were under no obligation to accept, either as

accurate or complete, that of which they had just been informed.

Indeed, they lacked the necessary facts upon which to base or

make an intelligent waiver or to be charged with a forfeiture

with respect to the sentencing hearing.              As will be further

noted, the defendants also lacked an efficient and expeditious

means for developing those facts without unduly impeding the

progress of the hearing.


             Respecting the factual vacuum, Johnson v. Zerbst, 304

U.S. 458 (1938), and its progeny teach that waiver is the

“intentional relinquishment or abandonment of a known right.”

Id. at 464; see also, e.g., United States v. Olano, 507 U.S. 725,

733 (1993) (quoting Johnson).         The United States' May 23, 2007,

disclosure, made promptly and likely without the benefit of a

careful and searching review, was skeletal.10             The disclosure did

      10
      The court does not suggest the United States Attorney’s
Office or members of the Federal Bureau of Investigation acted
                                                   (continued...)

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not include, inter alia, the following significant facts relating

in part to the substantial strength of the United States’

potential charges against Griffith: (1) the scope of and fruits

of the search of Griffith's home and that a search of his

computer yielded images of child pornography, (2) the contents of

the pre-search interview by S/A Franks and Inspector Svitek of

the 18 year-old individual, who was complaining of events

occurring when, at 14 years of age, he was staying for periods of

two weeks or more at Griffith’s home, including viewing

electronic images of child pornography, (3)             issuance of the

October 28, 2003, target letter informing Griffith that a grand

jury had uncovered substantial evidence linking him to the

commission of a federal crime, (4) Griffith’s admission to S/A



      10
      (...continued)
inappropriately. Defendants emphasize at least three
considerations to the contrary. First, they note that law
enforcement agents and the assigned AUSA were fully aware of the
pending charges against Griffith. Second, they point out a
member of the United States’ trial team initialed a document
authorizing the Griffith investigation in December 2002 and
thereafter conducted periodic file reviews generally with the
assigned AUSA. Third, they assert that a supervising FBI agent
was also present during the search of Griffith’s residence and
participated in some facets of the Lecco/Friend investigation.
None of these or similar allegations suffice to demonstrate any
impropriety. Beyond an automatic attribution theory offered by
defendants pursuant to Santobello v. New York, 404 U.S. 257, 262
(1971), and similar authorities, which the court need not reach,
there is no basis in the record to conclude that personnel in
either the United States Attorney’s office or the federal law
enforcement officers involved in Griffith’s case acted in an
unethical or illegal manner.

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Divittis of having downloaded, and copied, pornographic movies of

boys as young as 16 years of age having sex with each other, a

disclosure S/A Divittis apparently characterized as a “Pre-Test

Confession[,]” and (5) the failed polygraph examination.

Moreover, the evidentiary hearings revealed for the first time

that Griffith had not simply four arrests for generally minor

charges with no disposition shown, but also three convictions and

sentences, two of which were for controlled substance offenses.


             The question then arises whether defendants were

constrained to lodge an objection to Griffith’s continued service

and move for a mishearing on the sentencing phase of the two

murder counts before having all the available facts; or,

alternatively, to demand a fuller inquiry, before reaching a

decision on whether to seek a mishearing, while the sentencing

proceeding comes to an abrupt and extended halt.


             Regarding the first option, it is quite likely the

court, in this most unusual of settings, would have either denied

the motion for mishearing without prejudice or deferred action on

it pending the sentence verdict by the same 12 jurors, just as

the court did here without a motion; after which all the

pertinent facts pertaining to Griffith could be ascertained,

marshaled, and ruled upon.          Bearing upon the court’s decision to


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proceed with the sentencing hearing, with or without a motion for

mishearing, is the eminently practical one of avoiding, insofar

as it may prove possible, sacrificing six weeks of trial and

thousands of hours of trial preparation and costly expert

resources expended by defense counsel alone.              Exacerbating the

concerns of the court and the parties is that there were no

alternate jurors.       The alternates were necessarily excused when

the jury commenced its deliberations on the guilt phase of the

case.        Any delay would enhance the prospect that a juror may fall

ill or otherwise become incapable of continuing service in the

sentencing phase of the case, a circumstance that would likely

have aborted the sentencing hearing and required that those

proceedings start anew.11


                Proceeding with the sentencing hearing, with or without

a motion for mishearing, was vastly superior to the competing

option available to defendants, namely, demanding a fuller


        11
      The Federal Death Penalty Act, 18 U.S.C. §§ 3591 et seq.,
contemplates use of the Federal Rules of Criminal Procedure
respecting the selection and use of jurors. Rule 23(b) provides
that, prior to verdict, the parties may stipulate, with court
approval, to a jury of fewer than 12. Prior to the commencement
of deliberations, the court could not proceed with 11 jurors
absent defendants’ consent. Absent a stipulation, the court
would thus have been required to declare a mishearing and empanel
a new sentencing jury pursuant to section 3593(b)(2)(C). A
complicating factor is that the sentencing jury is to consider
not only the evidence offered at the sentencing hearing but also
the evidence adduced at the trial.

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inquiry and commencing days or weeks of collateral investigation

and litigation concerning Griffith’s fitness to serve, with the

sentencing jury waiting in the wings.           A fuller examination of

that competing option illustrates why it was impractical.                An

adequate inquiry of Griffith and the surrounding circumstances

has thus far spawned his retention of counsel, complex privacy

issues, substantial briefing, and an evidentiary record

consisting of, inter alia, three hearings and hundreds of pages.

It is difficult to imagine a jury poised to begin penalty

deliberations waiting for days or weeks on end while the

necessary evidentiary record was developed.


             Were it possible though to have expeditiously and

efficiently developed the record, the revelation that Griffith

was essentially at the sovereign’s mercy and had engaged in a

lengthy string of material falsehoods on voir dire would have

resulted in one of two outcomes.           First, the parties might have

stipulated, as noted, to a sentencing verdict by less than 12

jurors.    In this highest-of-stakes case it seems all but

inconceivable that the defendants would have done so --

especially when they stood blameless for the situation thrust

upon them. (See, e.g., United States v. Lecco, 2:07-107, dock.

ent. 899-2, at 5 (S.D. W. Va. Sept. 7, 2007) (Def.’s Jt. Reply


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stating “The choice to proceed with eleven jurors is no choice at

all, given the right to a jury of twelve.”)).             The second outcome

would have been to dismiss Griffith and, absent consent to

proceed with 11 jurors, declare a sentencing mishearing.


             Viewed in this posture, defendants’ decision to proceed

without inquiry as to Griffith or the surrounding circumstances

does not seem to be a case of attempting to game the system.12

The court concludes that it was not incumbent upon the defendants

either to move for a sentencing mishearing without knowledge of

all available facts or to seek an extended delay of the

sentencing hearing while the pertinent facts were gathered before

deciding whether to move for a sentencing mishearing.               With the

benefit of hindsight, all roads would lead to the same

destination -- consideration of a new trial -- regardless of

whether the inquiry was made of Griffith during the sentencing

hearing or after the sentencing verdict.


             Based upon the foregoing, a finding of waiver is

insupportable.       Absent the critical facts developed posttrial,

      12
      The United States suggests that the defendants
strategically took a wait-and-see approach hoping for the chance
to spend the rest of their natural lives in prison. Perhaps so,
perhaps not. In any event, had the United States been able to
maintain procedures that would have called to light, at the jury
selection stage, the Government-known circumstances surrounding
Griffith, it is safe to suppose that he would then have been
excused from jury service by acclamation.

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defendants cannot be deemed to have been armed with the necessary

facts upon which to base an intentional relinquishment of so

substantial a right, namely, to challenge a death juror’s

impartiality.13


             The court has also considered the impact of the recent

decision in Puckett v. United States, 129 S. Ct. 1423 (2009),

which involved forfeited error under Federal Rule of Criminal

Procedure 51(b).      The defendant in Puckett complained for the

first time on appeal that the United States, in direct

contravention of its express agreement with the defendant in the

plea agreement, opposed any offense level reduction for

acceptance of responsibility.         Defendant did not receive the

reduction and asserted error for the first time on appeal.


             The majority opinion noted the same principle espoused

in Gray and Breit, namely, that “the contemporaneous-objection

rule prevents a litigant from ‘“sandbagging”’ the court --

remaining silent about his objection and belatedly raising the



      13
      It is noteworthy as well to consider the court's actual
inquiry of counsel. The court asked "I take it then that the
parties are satisfied to proceed with Mr. Griffith as a juror in
this case." (emphasis supplied). The affirmative responses to
that query by counsel for the United States and the defendants
alike say nothing about their positions respecting the effect of
Griffith's service to that point, namely, his participation in
the verdict of guilt.

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error only if the case does not conclude in his favor.”                Id.,

slip op. at 5; see also id. at 10 (“requiring the objection means

the defendant cannot ‘game’ the system, ‘wait[ing] to see if the

sentence later str[ikes] him as satisfactory,’ and then seeking a

second bite at the apple by raising the claim.”) (citation

omitted).


             The circumstances in Puckett and this action differ

markedly.     First, Puckett is focused upon the withdrawal of an

appellate remedy for a defendant who stood silent in the district

court in the face of an obvious error.           In this action,

defendants moved timely for a new trial pursuant to Rule 33,

having been unaware of the Griffith problem until well after the

guilty verdicts were received.         Even then, defendants lacked the

necessary facts, or an efficient and expeditious means for

developing them, during the sentencing hearing.              Puckett

repeatedly condemns as forfeiture only the failure to timely

raise an objection to error.        See, e.g., id. at 4 (“If a litigant

believes that an error has occurred (to his detriment) during a

federal judicial proceeding, he must object in order to preserve

the issue.     If he fails to do so in a timely manner, his claim

for relief from the error is forfeited.”).             In view of the

limited and late nature of the United States’ disclosure, it is

difficult to conclude defendants acted dilatorily with respect to

the sentencing hearing.

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             Second, even assuming one could properly conclude

forfeiture applies as to the sentencing hearing portion of the

case inasmuch as defendants had some reason to question

Griffith’s fitness prior to the death verdicts, there is no

reasoned basis to so conclude as to the guilt verdict rendered

well before the United States’ disclosure.             Defendants had no

opportunity to object to Griffith’s continued service prior to

their guilt being determined by him and his fellow jurors.

Defense counsel cannot be expected to have perceived an

obligation to move for a new trial as to the guilt determination

when Rule 33 afforded them a greater time frame for doing so and

the promise of a fully developed evidentiary record.               In sum,

there has been no showing of an affirmative waiver or a forfeited

claim respecting Griffith.


             The court has also considered the potential

applicability of Federal Rule of Criminal Procedure 52(b), which

provides that, “A plain error that affects substantial rights may

be considered even though it was not brought to the court's

attention.”     Fed. R. Crim. P. 52(b).


             The Rule is thought by many to have application only in

an appellate setting.       The decisions are not unanimous on that

point.    See, e.g., United States v. Carpenter, 494 F.3d 13, 30,


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32 (1st Cir. 2007) (Campbell, J., dissenting)(“Without having

been contemporaneously alerted by a Rule 51(b) objection, the

district court was obliged, when it ruled on defendant's

post-verdict motion for a new trial, to employ plain error review

under Rule 52(b).”); United States v. Heron, 525 F. Supp.2d 729,

751 n.48 (E.D. Pa. 2007) (“Although plain error analysis is

usually the province of the Court of Appeals, the Rule -- which

is contained in the Federal Rules of Criminal Procedure, not the

Federal Rules of Appellate Procedure -- is not limited to

appellate practice.”), rev’d on other grounds, Nos. 08-1061, 08-

1622 (3rd Cir. Apr. 2, 2009); United States v. Washington, 263 F.

Supp.2d 413, 426 n.7 (D. Conn. 2003).


             As Olano makes clear, the errors to which Rule 52(b)

refers are not limited to those committed by the district court:

“If a legal rule was violated during the district court

proceedings, and if the defendant did not waive the rule, then

there has been an ‘error’ within the meaning of Rule 52(b)

despite the absence of a timely objection.”             Olano, 507 U.S. at

733-34.    Of particular note here on the question of error is

United States v. Lawhorne, 29 F. Supp.2d 292, 313 (E.D. Va.

1998):

      [W]hether categorized as improper juror contact or
      juror bias, Lawhorne's trial was infected by deviation


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      from a legal rule, namely the Sixth Amendment right to
      trial by an impartial jury. Communications with, and
      bias in favor of, the prosecutor in a criminal case are
      evidence tending to show that the Juror likely reached
      a verdict on grounds other than the trial evidence.
      This is an error of the most fundamental sort and there
      can be no serious doubt that it falls within the reach
      of the term “error” under Rule 52(b).

Id. at 314.     Assuming an error of a Sixth Amendment magnitude is

deemed to have occurred at the sentencing hearing, with its roots

having taken hold during voir dire in this capital case, the

court would conclude that the remaining requirements of Rule

52(b) are satisfied such that any perceived forfeiture should now

be remedied.     See, e.g., Puckett, 129 S. Ct. at 1429 (noting “[1]

there must be . . . a ‘[d]eviation from a legal rule’ . . . that

has not been . . . affirmatively waived, . . . [2] the . . .

error must be clear or obvious, rather than subject to reasonable

dispute[,] . . . [3] the error must have affected . . .

substantial rights, which in the ordinary case means . . . it

‘affected the outcome of the district court proceedings[]’ [and]

. . . ‘“‘[the error] seriously affect[s] the fairness, integrity

or public reputation of judicial proceedings.’”’)(citations

omitted); United States v. Basham, 561 F.3d 302, 329 (4th Cir.

2009) (same).


             Based upon the foregoing, the court concludes

defendants neither waived, forfeited, nor otherwise defaulted in


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seeking to challenge Griffith’s impartiality post trial.

Assuming a forfeiture is deemed to have occurred, however, Rule

52(b) permits the court to notice, and correct, any prejudice

flowing therefrom.



B.    Challenge to Griffith



                              1. Governing Law



             Defendants primarily contend that Griffith’s answers

during voir dire warrant a new trial, inasmuch as he failed to

honestly respond to material written inquiries and that accurate

responses would have provided the defense valid bases to

challenge him for cause.


             Juror impartiality is an explicit command found within

the Sixth Amendment:

      The Sixth Amendment . . . affords an accused the right
      to trial by an impartial jury. As the Supreme Court
      has observed, a "touchstone of a fair trial is an
      impartial trier of fact -- 'a jury capable and willing
      to decide the case solely on the evidence before it.'"

Conaway v. Polk, 453 F.3d 567, 582-83 (4th Cir. 2006) (citations

omitted); Gardner v. Ozmint, 511 F.3d 420, 424 (4th Cir. 2007);

Billings v. Polk, 441 F.3d 238, 244 (4th Cir. 2006); Conner v.


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Polk, 407 F.3d 198, 205 (4th Cir. 2005) (“Put simply, if ‘even

one [partial] juror is empaneled’ and the death sentence is

imposed, ‘the . . . [sovereign] is disentitled to execute the

sentence.’”)(citation omitted); Jones v. Cooper, 311 F.3d 306,

310 (4th Cir. 2002) (same); Fitzgerald v. Greene, 150 F.3d 357,

362 (4th Cir. 1998).


             In McDonough Power Equipment, Inc. v. Greenwood, 464

U.S. 548 (1984), the Supreme Court was confronted with a

situation in which a juror in a civil case failed to “respond

affirmatively to a question on voir dire seeking to elicit

information about previous injuries to members of the juror's

immediate family . . . .” Id. at 549.           The case involved a family

whose son was injured in a lawnmower accident.               The sole

defendant was exonerated.       The court of appeals reversed on the

grounds that the juror’s omission had “‘prejudiced the

Greenwoods' right of peremptory challenge’ and that a new trial

was necessary to cure this error.”          Id. (citations omitted).


             The Supreme Court concluded that the plaintiffs were

not entitled to “a new trial unless the juror's failure to

disclose denied [them] . . . their right to an impartial jury.”

Id.   It was observed as follows:

      One touchstone of a fair trial is an impartial trier of

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      fact -- “a jury capable and willing to decide the case
      solely on the evidence before it.” Voir dire
      examination serves to protect that right by exposing
      possible biases, both known and unknown, on the part of
      potential jurors. Demonstrated bias in the responses to
      questions on voir dire may result in a juror being
      excused for cause; hints of bias not sufficient to
      warrant challenge for cause may assist parties in
      exercising their peremptory challenges. The necessity
      of truthful answers by prospective jurors if this
      process is to serve its purpose is obvious.

McDonough, 464 U.S. at 554 (citations omitted).              The high Court

further observed, however, as follows:

      To invalidate the result of a three-week trial because
      of a juror's mistaken, though honest, response to a
      question, is to insist on something closer to
      perfection than our judicial system can be expected to
      give. A trial represents an important investment of
      private and social resources, and it ill serves the
      important end of finality to wipe the slate clean
      simply to recreate the peremptory challenge process
      because counsel lacked an item of information which
      objectively he should have obtained from a juror on
      voir dire examination.

McDonough, 464 U.S. at 555.


             In view of these competing considerations, the Supreme

Court set in place the following standard:

      We hold that to obtain a new trial in such a situation,
      a party must first demonstrate that a juror failed to
      answer honestly a material question on voir dire, and
      then further show that a correct response would have
      provided a valid basis for a challenge for cause. The
      motives for concealing information may vary, but only
      those reasons that affect a juror's impartiality can
      truly be said to affect the fairness of a trial.

McDonough, 464 U.S. at 556 (emphasis supplied).

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             Our court of appeals has previously applied the

McDonough standard in the context of capital and other criminal

proceedings.     See Gardner v. Ozmint, 511 F.3d 420, 424 (4th Cir.

2007); United States v. Fulks, 454 F.3d 410, 431-32 (4th Cir.

2006); Conaway, 453 F.3d at 582-83; Conner v. Polk, 407 F.3d 198,

205 (4th Cir. 2005); Fitzgerald v. Greene, 150 F.3d 357, 362 (4th

Cir. 1998).     It has additionally concluded that the

McDonough “test applies ‘equally to deliberate concealment and to

innocent non-disclosure.’”          Gardner, 511 F.3d at 424 (quoting

Conner, 407 F.3d at 205).


             It is also noteworthy that in some of the

aforementioned decisions the court of appeals has suggested a

third component to the McDonough standard.              In Conaway, it was

stated as follows:

      The McDonough test for juror bias is generally
      characterized as having two parts [that is, (1) failure
      to answer a material question honestly, and (2) a
      showing that an honest answer would have resulted in a
      valid basis to challenge for cause]. The inquiry into
      whether a trial's fairness was affected essentially
      constitutes a third part, however, as it must be
      satisfied before the juror's bias may be proven.

453 F.3d at 585 n.20; McNeill v. Polk, 476 F.3d 206, 224 n.8 (4th

Cir. 2007) (King, J., concurring in part) (A petitioner who can

satisfy the first two prongs of the McDonough test is then also

obliged to establish that "the juror's 'motives for concealing


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information' or the 'reasons that affect [the] juror's

impartiality can truly be said to affect the fairness of [the]

trial.'") (citing Conaway v. Polk, 453 F.3d 567, 588 (4th Cir.

2006) and McDonough, 464 U.S. at 556)).


             Regarding the second McDonough component, it has been

observed that “‘[t]he category of challenges for cause is

limited,’ and traditionally, a challenge for cause is granted

only in the case of actual bias or implied bias (although a third

category, inferred bias, might also be available).” Jones v.

Cooper, 311 F.3d 306, 312 (4th Cir. 2002).             It has been suggested

though that active concealment of material information during

voir dire is suggestive of bias.           See Conaway, 453 F.3d at 588

(stating “Conaway alleged facts sufficient to establish that

Juror Waddell concealed crucial information in order to serve on

Conaway's jury.      Such ‘dishonesty, of itself, is evidence of

bias.’)(citing Burton v. Johnson, 948 F.2d 1150, 1159 (10th Cir.

1991) and United States v. Colombo, 869 F.2d 149, 151-52 (2d Cir.

1989) (recognizing that lying during voir dire is inconsistent

with obligation to ‘weigh the evidence fairly and obey the

instructions of the court’).”).


             In Jones, the court of appeals addressed a defense

argument that “a sentencing juror lied on a jury questionnaire

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and in voir dire, preventing appellant from being able to

challenge her peremptorily or for cause.”            Id. at 309.     The court

of appeals observed as follows:

      Misstatements on a jury questionnaire such as those
      here are troubling, but do not, standing alone,
      indicate juror bias. As the Supreme Court has
      instructed, "[t]he motives for concealing information
      may vary, but only those reasons that affect a juror's
      impartiality can truly be said to affect the fairness
      of a trial." McDonough, 464 U.S. at 556, 104 S.Ct. 845.
      Here, there is no evidence of motive, much less
      evidence of motive tending to raise questions as to the
      juror's impartiality.

Id. at 313.


             After quoting the McDonough standard in Fitzgerald, the

court of appeals also stated an alternative means for challenging

a particular juror’s fairness:

      Failure to satisfy the requirements of McDonough does
      not end the court's inquiry, however, when the
      petitioner also asserts a general Sixth Amendment claim
      challenging the partiality of a juror based upon
      additional circumstances occurring outside the voir
      dire. As Justice Blackmun emphasized in his
      concurrence in McDonough, "the Court's holding [did]
      not . . . foreclose the normal avenue of relief
      available to a party who is asserting that he did not
      have the benefit of an impartial jury." Justice
      Blackmun explained that

             regardless of whether a juror's answer is
             honest or dishonest, it remains within a
             trial court's option, in determining whether
             a jury was biased, to order a post-trial
             hearing at which the movant has the
             opportunity to demonstrate actual bias, or in
             exceptional circumstances, that the facts are

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             such that bias is to be inferred.

       McDonough, 464 U.S. at 556-57, 104 S. Ct. 845
       (Blackmun, J., concurring); see Smith v. Phillips, 455
       U.S. 209, 215, 102 S.Ct. 940, 71 L.Ed.2d 78 (1982)
       (holding that "the remedy for allegations of jury
       partiality is a hearing in which the defendant has the
       opportunity to prove actual bias"); cf. Wainwright v.
       Witt, 469 U.S. 412, 423, 105 S.Ct. 844, 83 L.Ed.2d 841
       (1985) (holding that the defendant bears the burden of
       establishing juror partiality).

Fitzgerald, 150 F.3d at 362-63; United States v. Fulks, 454 F.3d

410, 431-32 (4th Cir. 2006); see also Jones v. Cooper, 311 F.3d

306, 310 (4th Cir. 2002)(stating “The McDonough test is not the

exclusive test for determining whether a new trial is warranted:

a showing that a juror was actually biased, regardless of whether

the juror was truthful or deceitful, can also entitle a defendant

to a new trial.”).



                                2. Analysis



             Regarding the first McDonough factor, Griffith failed

to answer multiple, material voir dire questions in an honest

way.    As noted, he conceded, either explicitly or implicitly,

during the evidentiary hearing that he gave inaccurate or false

responses to questions 41, 46, 50, 52, 64, 66, 69, 124(a), and

127, found on the juror questionnaire.



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             Regarding the second factor, and leaving aside the

inaccurate answers relating to jail time, substance abuse, and

prior contact with the criminal justice system, it seems equally

clear that accurate responses to questions 41 (dealings with the

United States Attorney’s office), 46 (being accused of or

investigated for a crime), 50 (prior questioning by law

enforcement), or 52 (involvement in any dispute with the United

States), would have resulted in a valid basis to challenge for

cause.     Had Griffith responded truthfully to those questions, he

would have revealed that he was under continuing suspicion for

having violated multiple federal proscriptions relating to child

pornography, not to mention the possibility of related state

charges of a most serious nature.          Faced with the prospect of

qualifying a death juror who was then, so to speak, in the

clutches of the prosecutor, it seems apparent both defendants

would have aggressively sought his dismissal.             Indeed, it is

likely that the United States would have joined the request.14


      14
      The United States now though lodges essentially two
arguments to the contrary. First, it contends Griffith’s actions
suggest a desire to avoid embarrassment and not a predisposition
favoring the prosecution. Second, relying upon precedent from
our court of appeals, the government asserts a juror’s contact
with the criminal justice system “‘does not give rise to an
inference that the juror was biased against the . . . [accused];
indeed, arguably, the more common-sense assumption is that a
juror with this background would be biased in favor of the
                                                   (continued...)

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From an objective standpoint, it would have been unthinkable to

permit him to serve.


             While the factual predicate differs in some respects,

the United States Court of Appeals for the Fifth Circuit has

previously observed the seriousness of allowing a juror to serve

on a case involving the same prosecutor who might later charge

and prosecute the juror.       In Brooks v. Dretke, 418 F.3d 430 (5th

Cir. 2005), a jury member, Garcia, that had previously served on

a jury that found defendant Carl Brooks guilty was arrested on

the first day of the sentencing phase of Brooks’ case for

unlawfully carrying a weapon.         The juror would have been subject

to prosecution by the same district attorney's office then

prosecuting Brooks.       The juror was found to be in possession of a

loaded pistol at a security checkpoint in the courthouse, which


      14
      (...continued)
accused.’” (Govt.’s Resp. at 11 (quoting Jones, 311 F.3d at
313)). This concededly “arguabl[e]” proposition stated in Jones
is not there advanced in a setting where, as here, the accused
juror is facing prosecution by the very same prosecution office
that is seeking his assent to a guilty verdict and a sentence of
death as to each defendant.
     Neither argument meets the concerns expressed herein. For
example, Griffith was in effect assured at question 125 of the
juror questionnaire that he could confer privately with the court
and counsel about such a matter as the United States’
investigation of him. Second, the analysis in Jones does not
contemplate a self-interested juror suppressing the fact that the
prosecutor trying the case has under consideration the pursuit of
the most serious of charges against the juror.

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he planned to deliver to a repair shop.              The juror had not

informed his fellow jurors of his arrest and advised the court

that his arrest would not interfere with his ability to be fair

and impartial.       Judge Higginbotham, writing for the panel, noted

additionally as follows:

      At no point did Garcia have any off-the-record
      conversations with members of the District Attorney's
      Office regarding the disposition of his case. Garcia
      did not vote at the punishment phase in a fashion
      designed to ingratiate himself with the District
      Attorney's Office in hopes of obtaining some species of
      leniency in the future.

           Garcia related that his vote to assess the death
      penalty upon the applicant, was based solely upon the
      evidence presented during the course of the trial and
      was wholly unrelated to the charge pending against him.
      Garcia had no contact with any members of law
      enforcement regarding his charge, with the exception of
      the arresting officer.

Id. at 432.


             Despite these observations in mitigation, some of which

run to the contrary as they relate to Griffith, Judge

Higganbotham concluded as follows on the issue of implied bias, a

juror disqualification doctrine reserved for the most obvious

instances of putative juror partiality:

      Our question is whether . . . [the juror’s] conduct is
      of the genre of cases Justice O'Connor pointed to in
      her concurring opinion in Phillips: juror conduct not
      salvageable by post event hearings. We think that the
      answer to this question is yes. Garcia was married
      with two young children. As he listened to the evidence
      in the sentencing phase and participated in the jury's
      decision of the State's contention that Brooks should


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      be put to death he was facing a stunning turn of events
      in his own life. He could have been sentenced to a year
      in jail; worse yet, he could have faced a felony
      prosecution, notwithstanding the State's interpretation
      in this case of the older version of the Texas gun
      possession statute. True enough he was not an employee
      of the district attorney's office, but in practical
      ways his future was even more in its hands. Garcia
      testified that the sentencing hearing “was one entire
      week of hell” and he suffered “unrelenting
      embarrassment.” He thought the matter of his arrest was
      to be held in confidence, but his “name and this case
      [was] the head story at twelve, five, six and ten
      o'clock for four straight days.”

            We do not suggest that being charged with
      unlawfully carrying a weapon alone disqualified Garcia
      for jury service under state law or that any
      outstanding misdemeanor charge should support a finding
      of implied bias. It is rather the sum of all factual
      circumstances surrounding this juror -- in particular,
      the power of the District Attorney, and the timing and
      sequence of events -- that compels this conclusion. As
      Lord Coke put it, a juror must be as “indifferent as he
      stands unsworne.” That there is no evidence that the
      District Attorney did anything to exploit his power
      over juror Garcia is of no moment. That the power
      presents an intolerable risk of working its will
      without the raising of a hand or a nod is the vice
      here.

Id. at 434-35 (emphasis supplied) (footnotes omitted).               The

decision in Brooks illustrates why the second McDonough factor is

satisfied here, along with the further observation that

defendants’ invocation of the implied bias doctrine, though

rarely successful in the mine run of cases, is appropriately

considered here as well.       See Brooks v. Dretke, 444 F.3d 328, 332

(5th Cir. 2006) (opinion denying rehearing by panel and en banc,


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observing “The state court concluded that the events surrounding

the arrest of juror Garcia, during Brooks's capital-murder trial,

were not sufficient to imply bias.          We disagree.      Juror Garcia

was arrested and booked for carrying a loaded, .25 caliber pistol

into the courthouse on the day Brooks's sentencing hearing

started.     Facing the possibility of felony prosecution, Garcia's

fate rest in the hands of the same prosecutor now seeking the

death penalty in Brooks's trial.           Throughout sentencing, Garcia

never knew whether he would be prosecuted. . . . The prosecutor's

power over Garcia presented an intolerable risk, one that denied

Brooks his constitutionally entitled impartial jury, and we

maintain that no reasonable jurist could disagree with our legal

conclusion.”) (emphasis supplied); Remmer v. United States, 350

U.S. 377, 381-82 (1956) (involving a bribe attempt on a juror,

who reported the encounter to the judge, with the judge reporting

the matter to the FBI and an FBI agent interviewing the juror

during the time of the juror’s service and Supreme Court

concluding a new trial was warranted, in part, because “[a]s . .

. [the juror] sat on the jury for the remainder of the long trial

and as he cast his ballot, . . . [he] was never aware of the

Government's interpretation of the events to which he, however

unwillingly, had become a party.”).15          That conclusion is

      15
      Our court of appeals has treated Justice O’Connor’s
concurring opinion in Smith v. Phillips, 455 U.S. 209 (1982), as
the authoritative source regarding the proper reach of the
                                                   (continued...)

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significant in view of binding precedent.            See, e.g., Conner, 407

F.3d at 205 (4th Cir. 2005) (“Put simply, if ‘even one [partial]

juror is empaneled’ and the death sentence is imposed, “the State

is disentitled to execute the sentence.”) (brackets in original)

(quoting Morgan v. Illinois, 504 U.S. 719, 728 (1992)); Jones,

311 F.3d at 310 (same).

             The third and final inquiry under McDonough is whether

the juror’s motives for concealing information or the reasons

that affect his or her impartiality can truly be said to affect

the fairness of the trial.


      15
       (...continued)
implied bias doctrine. See, e.g., Conaway v. Polk, 453 F.3d 567,
587 n.21 (4th Cir. 2006) (“We have consistently treated Justice
O'Connor's concurrence in Smith as the authoritative articulation
of implied bias.”). Justice O’Connor observed as follows in
Smith:

      While each case must turn on its own facts, there are
      some extreme situations that would justify a finding of
      implied bias. Some examples might include a revelation
      that the juror is an actual employee of the prosecuting
      agency . . . . Whether or not the state proceedings
      result in a finding of “no bias,” the Sixth Amendment
      right to an impartial jury should not allow a verdict
      to stand under such circumstances.

Smith, 455 U.S. at 222 (O’Connor, J., concurring) (emphasis
supplied). The apparent justification for a finding of implied
basis in the situation underscored above is that the prosecuting
authority is vested with a measure of control over the juror that
would objectively suggest an intolerable effect on the juror’s
impartiality. The same would appear to be true in a situation in
which the prosecuting authority possesses the power to prosecute
the sitting juror for a most serious offense.

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             Despite Griffith’s testimony at times trying to

minimize his concerns about the investigation, he was the subject

of an undeniably serious matter.           A United States Magistrate

Judge issued a search warrant for his home, authorizing the

seizure of materials related to child pornography.              Eleven

federal and state law enforcement agents executed the warrant and

seized a great deal of property.           Following receipt of his

Miranda warnings the same day, Griffith was interviewed at a law-

enforcement office at some length by an FBI agent and a United

States Postal Inspector.       He confessed at that time that the

questions asked of him by law enforcement “really” made him

“nervous.”     (Offic. File of the FBI at 32).          He conceded as well

at that time that there was “a ‘possibility’ he downloaded images

of post-pubescent ‘kids maybe 15' years old.”             (Id. at 33).      He

also admitted taking pictures of a minor, aged 17, who had an

erection at the time, which “he may have sent . . . to” another

individual.     (Id.)    On February 19, 2004, he further admitted to

S/A DiVittis that “he copied pornographic movies involving boys

between the ages of 16 - 18 after viewing movies on approximately

ten occasions.”      (Offic. File of Spec. Agent at 232).           As noted,

S/A Divittis apparently characterized this particular information

as a “Pre-Test Confession[.]”         (Id.)


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             On October 28, 2003, Griffith received a target letter,

hand delivered by an FBI agent, advising him that he was “a

target of a grand jury investigation.”           (Id. at 4).      He then met

with the assigned AUSA and an FBI agent, at which time he was

advised that child pornography had been found on his computer.

He then failed a polygraph examination and was informed of the

results by the FBI that same day.          Then, on the eve of deciding

whether the defendants should be put to death, he was contacted

by the FBI concerning the dormant investigation.16


             The United States recognized candidly at an earlier

juncture that a charge related to child pornography “is a very

volatile crime and can bring a person into severe disrepute in

      16
      It is noteworthy that Remaley and Griffith disagree
respecting the timing and substance of this communication.
Remaley suggests Griffith phoned him at 7:45 a.m. after Remaley
left a note at Griffith’s home the day prior. During that
conversation, Remaley asserts that he “told Griffith they were
not going forward with the case . . . .” (Int. Summs., Ex. E. at
4). While he had difficulty recalling the timing, Griffith
suggested he returned Remaley’s call “[s]ometime maybe in the
midafternoon.” (12/18 Trans. at 110). Griffith further
testified that Remaley “didn’t say anything about the
investigation” and that Griffith was never specifically advised
that the investigation was over. (Id. at 132).
     The actual state of affairs is immaterial in the context of
a bias determination. If Griffith was informed the investigation
was over, he was beholden to the United States for lifting an
immeasurable burden from him on the eve of deliberations
concerning the penalties to be imposed on defendants. If
Griffith was not so advised, he deliberated under the specter of
a sovereign poised to charge him with the most serious of
criminal offenses.

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his community.” (12/13 Trans. at 19).           The court agrees.       It is

difficult to imagine one guilty or innocent of such a charge

having the ability to set aside the natural fear and turmoil

confronted when facing a potential public accusation of

misconduct so serious.


             In the face of these rather ominous developments,

Griffith contended that he “was very fair and impartial” during

his jury service.      (Id. at 162).       That representation must be

dismissed as hollow.       When further asked if he “were on trial

for” his “life, would . . .[he] want a juror who was being

investigated by the same prosecuting office to be on the jury[,]”

he responded “Probably not.”        (Id.)     When asked if he was

“concerned every day . . . [when he came to court] that somebody

might say something about the [child pornography] investigation,”

he responded “I guess it was in the back of my mind . . . .”

(12/18 Trans. at 116).


             One would reasonably expect a juror faced with these

compromising circumstances to entertain a number of thoughts

impacting his impartiality.         First, he might misguidedly think he

could please the sovereign concerning the ongoing investigation

of him if a prosecution verdict was returned.             Second, he might

think he would have increased leverage in avoiding prosecution

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once the prosecutor made the link between the ongoing

investigation and his jury service.          Third, he might wholly

misinterpret as a “wink and a nod” the contact during trial by

the FBI suggesting the imminent, and long-awaited, return of his

computer.


             It is, accordingly, not difficult to conclude that

Griffith was motivated to conceal the child pornography

investigation in order to diminish the chances of, or avoid

altogether, any further investigation or prosecution on charges

carrying such extraordinary public opprobrium.              The looming

potential of further investigation or prosecution -- by the very

same entity charged with prosecuting defendants Lecco and Friend

-- resulted in a burden on Griffith’s impartiality that can

fairly be said to have affected the fairness of the trial and

sentencing hearing.


             Based upon the foregoing, the court ORDERS that the

defendants’ second motion for new trial be, and it hereby is, in

the interest of justice, granted.          It is further ORDERED that a

new trial be, and it hereby is, granted as to both defendants on

all counts.




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             The Clerk is directed to file this written opinion and

order initially under seal pending further order and to forward

copies only to counsel of record for the United States and the

defendants, with appropriate guarantees of confidentiality.


                                           DATED:    May 4, 2009


                                           John T. Copenhaver, Jr.
                                           United States District Judge




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